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UN|TED STATES DlSTRiCT COURT
DlSTRlCT OF CONNECTICUT

 

MATTHEW BEAL
Plaintiff ClViL ACT|ON NO.

V.

ASSOC|ATED CRED|T SERV|CES, lNC.

Defendant JULY 21, 2009

 

COMPLA|NT
|. |NTRODUCTION
1. 'i'his is a suit brought by a consumer Who has been harassed and abused by
Defendant collection agency. This action is for violations of the Fair Debt Coiiection
Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.
li. PART|ES
2. The plaintiff, |\/iatthew Bea|, is a natural person residing in New Britain,
Connecticut and is a consumer as defined by the Fair Debt Co|lection Practices Act
(“FDCPA") 15 U.S.C. §16923(3).
3. The defendant, Associated Credit Services, |nc. ("ACS”), is a Nlassachusetts
corporation headquartered in that state and is licensed by the Connecticut Department
of Banl<ing as a Consumer Co|iection Agency and is a debt collector as defined by

FDcPA § 16923(6)_

 

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lll. JURISD|CTION

4. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692i<(d), 28
U.S.C. §§ 1331, and 1337, and Fed. R. Civ. F’. 18(a).

5. This Court has jurisdiction over ACS, because it engages in debt collection
within Connecticut.

6. Venue in this Court is proper, because the Plaintiff is a resident and the acts
complained of occurred in this state.

iV. FACT`UAL ALLEGATIONS

7. ACS contacted Plaintiff in an attempt to collect a debt claimed by an
automobile finance company in connection With an automobile loan.

8. Plaintifl’ disputes that he is liable for the automobile loan.

9. During this ca|l, ACS’s representative threatened to garnish Plaintiff’s Wages if
he did not agree to make a voiuntary payment

V. CLA|MS FOR REL|EF
CAUSE OF ACTION
Violations of Fair Debt Coilection Practices Act, 15 U.S.C. §§ 1692 w

10. ACS vioiated the FDCPA by threatening to take actions that it Was not
authorized or permitted to undertakel were not provided for by iaw, or Which it did not
intend to undertake

tt. For ACS’s violations of the Fair Debt Co||ection Practices Act as described
above, the Piaintifi is entitled to recover her actuai damages (inciuding emotionai

distress), statutory damages of $1 ,OO0.00, and reasonable attorney’s tees, pursuant to

15 U.S.C. § 1692k.

 

 

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WHEREFORE, the Plaintiff seeks recovery of monetary damages pursuant to 15
U.S.C. § 16923<; statutory damages pursuant to 15 U.S.C. § 1692k; attorney‘s fees and

costs pursuant to 15 U.S.C. § 1692k; and such other relief as this Court deems

appropriate

PLAiNTlFF, MATTHEW BEAL

By

 

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